Case: 13-17154, 08/05/2014, ID: 9193312, DktEntry: 45-2, Page 1 of 4
          Case: 13-17154, 08/05/2014, ID: 9193312, DktEntry: 45-2, Page 2 of 4




                         Court of Appeals No. 13-17154, 13-17102



                         Facebook, Inc v. Power Ventrues, Inc, et al.



                                  INDEX
                APPELANTS’ SUPPLEMENTAL EXCERPTS OF RECORD

   Date       Dkt. No.   Page No.                                 Document

                                       Expert report prepared for Facebook by Richard J.
12/19/2011      N/A         1-2
                                       Ostiller of Navigant Consulting, Inc. (excerpt)




                         Index – Appellants’ Supplemental Excerpts of Record
                              Facebook, Inc. v. Power Ventures, Inc., et al.
                                              Page 1 of 1
Case: 13-17154, 08/05/2014, ID: 9193312, DktEntry: 45-2, Page 3 of 4




                                                                       DSER-1
Case: 13-17154, 08/05/2014, ID: 9193312, DktEntry: 45-2, Page 4 of 4




                                                                       DSER-2

                                                                  D
